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    6
      Attorneys for Plaintiffs and Counter-
    7 Defendants PHARRELL WILLIAMS,
      ROBIN THICKE and CLIFFORD
    8 HARRIS, JR. and Counter-Defendants
      MORE WATER FROM NAZARETH
    9 PUBLISHING, INC., PAULA MAXINE
      PATTON individually and d/b/a
   10 HADDINGTON MUSIC, STAR TRAK
      ENTERTAINMENT, GEFFEN
   11 RECORDS, INTERSCOPE RECORDS,
      UMG RECORDINGS, INC., and
   12 UNIVERSAL MUSIC DISTRIBUTION
   13                         UNITED STATES DISTRICT COURT
   14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15 PHARRELL WILLIAMS, an                    CASE NO. CV13-06004-JAK (AGRx)
      individual; ROBIN THICKE, an             Hon. John A. Kronstadt, Ctrm 750
   16 individual; and CLIFFORD HARRIS,
      JR., an individual,                      COUNTER-DEFENDANTS’
   17                                          OBJECTIONS TO THE
                          Plaintiffs,          DECLARATION OF GARY COHEN
   18                                          REGARDING PREJUDGMENT
             vs.                               INTEREST
   19
      BRIDGEPORT MUSIC, INC., a                Date: June 29, 2015
   20 Michigan corporation; FRANKIE            Time: 8:30 a.m.
      CHRISTIAN GAYE, an individual;           Crtrm.: 750
   21 MARVIN GAYE III, an individual;
      NONA MARVISA GAYE, an                    Action Commenced: August 15, 2013
   22 individual; and DOES 1 through 10,       Trial Date:       February 24, 2015
      inclusive,
   23
                          Defendants.
   24
   25 AND RELATED COUNTERCLAIMS.
   26
   27 / / /
   28 / / /


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                 1             Counter-Defendants Pharrell Williams, Robin Thicke, and More Water From
                 2 Nazareth Publishing, Inc. (“Counter-Defendants”) hereby object to the Declaration
                 3 of Gary Cohen Regarding Prejudgment Interest (“Cohen Decl”), as follows:
                 4 Material Objected to:                 Grounds for Objection:     Ruling on the
                                                                                    Objection:
                 5
                 6             I, Gary Cohen, make the
                 7 following statements upon
                 8 personal knowledge:
                 9 1.          The representations
                10 made in this Declaration are
                11 based on my personal
                12 knowledge and, if called upon
                13 to do so, I could and would
                14 testify competently to them.
                15 2.          I am a Certified Public
                16 Accountant and the President
                17 of Gary Cohen Corporation. I
                18 have thirty years experience in
                19 the entertainment industry as a
                20 forensic accountant and
                21 business manager. Gary Cohen
                22 Corporation has conducted over
                23 1,000 “royalty audits” on
                24 behalf of recording artists,
                25 songwriters, producers and
                26 other music entertainment
                27 companies. I have testified as
                28
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                 1 Material Objected to:                Grounds for Objection:           Ruling on the
                                                                                         Objection:
                 2
                 3 an expert witness in Federal
                 4 Court and the courts in the
                 5 states of New York, New
                 6 Jersey and California.
                 7 3.          I understand that        1. Fed. R.Civ.P. 26 (a)(2).      1. Sustained /
                                                                                            Overruled
                 8 prejudgment interest may be          Mr. Cohen did not offer any
                                                        opinions regarding
                 9 allowed in copyright cases.          prejudgment interest in his
                                                        Rule 26 expert report.
                10 [1] In order to calculate the        Mr. Cohen only opined as to
                                                        actual damages and Counter-
                11 appropriate amount of                Defendants’ profits. [Dkt.
                                                        175-9, p. 3 of 9, filed
                12 prejudgment interest, it is          01/07/15.] Counter-
                                                        Claimants should be
                13 necessary to determine from          precluded from offering his
                                                        opinions here. Fed.R.Civ.P.
                14 what date the interest should        26(a)(2); Zhang v. American
                                                        Gem Seafoods,th Inc., 339 F.3d
                15 run, sometimes referred to as        1020, 1028 (9 Cir. 2003).
                16 the “accrual date.”
                17 4.          In this case, the jury
                18 awarded $4,000,000 in actual
                19 damages and an additional
                20 $1,610,455.31 in profits
                21 attributable to the Williams
                22 Parties and $1,768,191.88
                23 attributable to the Robin
                24 Thicke, for a total of
                25 $7,378,647.19.
                26 5.          These awards relate to
                27 damages suffered by the Gayes
                28
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                 1 Material Objected to:                 Grounds for Objection:          Ruling on the
                                                                                         Objection:
                 2
                 3 and profits earned by the             2. Fed. R.Civ.P. 26 (a)(2);     2. Sustained /
                                                         Zhang, 339 F.3d at 1028.           Overruled
                 4 Williams Parties and Thicke
                                                         Mr. Cohen did not offer any
                 5 over time. [2] However, with a        opinions regarding accrual of
                                                         prejudgment interest in his
                 6 few simplifying assumptions it        Rule 26 expert report.
                 7 is possible to calculate a
                 8 reasonable accrual date.
                 9 6.          [3] The “Blurred Lines”   3. FRE 402, 403, 702; Fed. 3. Sustained /
                                                         R.Civ.P. 26 (a)(2); Zhang,    Overruled
                10 single was released on                339 F.3d at 1028.
                11 March 23, 2013. Based on my           Mr. Cohen did not offer any
                                                         opinions on an accrual date
                12 experience in the industry, I         in his Rule 26 report.
                13 assume that royalties began to        Full financial records
                                                         regarding royalties were
                14 be paid 45 days after the end of      produced in discovery.
                                                         Mr. Cohen improperly
                15 the quarter in which the release      “assumes” when monies
                                                         were received rather than
                16 occurred, or May 15, 2013. If         analyze the reported income.
                                                         His opinion on the accrual
                17 royalties were paid evenly            date is not a proper subject
                                                         for expert testimony, and his
                18 between that date and the             methodology is not reliable.
                19 present, on average the payout
                20 date of the royalties would have
                21 been May 8, 2014. In fact, the
                22 weighted average date is almost
                23 certainly earlier because more
                24 royalties were earned during
                25 the first year following release
                26 than the second. Accordingly,
                27 in my professional opinion, it is
                28
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                 1 Material Objected to:                 Grounds for Objection:           Ruling on the
                                                                                          Objection:
                 2
                 3 conservative (and not
                 4 prejudicial to the Williams
                 5 Parties and Thicke) to use
                 6 May 8, 2014 as the accrual
                 7 date.
                 8 7.          I am informed and         4. FRE 402, 403, 703;            4. Sustained /
                                                         Fed.R.Civ.P. 26(a)(2);              Overruled
                 9 believe that the federal post-        Zhang, 339 F.3d at 1028.
                10 judgment interest rate as of the      Mr. Cohen has no expertise
                                                         to opine on what interest rate
                11 date of the verdict was 0.25%.        the Court should use, which
                                                         is a purely legal issue.
                12 [4] In my view, this is a very
                                                         Mr. Cohen’s “view” as to
                13 low interest rate (for instance,      whether the 0.25% rate is
                                                         “very low” is irrelevant and
                14 the California state court            not a proper subject for
                                                         expert testimony.
                15 prejudgment interest rate is
                16 10%, or 40 times higher), but I
                17 understand that many federal
                18 courts use the post-judgment
                19 rate to calculate prejudgment
                20 interest.
                21 8.          [5] Between the accrual   5. FRE 402, 403, 702;            5. Sustained /
                                                         Fed.R.Civ.P. 26(a)(2).              Overruled
                22 date of May 8, 2014 and
                                                         Mr. Cohen did not offer any
                23 today’s date of May 1, 2015           opinions regarding
                                                         prejudgment interest in his
                24 (358 days), the total                 expert report and should be
                                                         precluded from offering
                25 prejudgment interest is               those opinions here.
                26 $7,378,647.19 x 0.25% x
                27 358/365 = $18,093. Additional
                28
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                    1 Material Objected to:                 Grounds for Obiection:      tRuline: on the
                                                                                        IUbjectwn:
                    2
                    3 interest after May 1 2015
                    4   ~hrough      the date of judgment
                    5 Kvill accrue at a rate of $50.54
                    6 per day.
                    7             Pursuant to 28 U.S.C.
                    8 § 1746, I declare under penalty
                    9 of perjury that the foregoing is
                   10   ~rue   and correct. Executed this
                   11 1st day ofMay, 2015.
                   12
                   13
                   14 DATED: June 1, 2015                    KING, HOLMES, PATERNO &
                                                             BERLINE   LP
                   15
                   16
                   17
                   18
                                                             By:         -~ M :\\.J
                                                                   ----~~------------------------
                                                                              HowARD   E.   KING
                                                                                SETH MI LLE R
                   19
                                                             Attorneys for Plaintiffs and Counter-Defendants
                   20                                        PHARRELL WILLIAMS, et al.
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BERLINER , L L P


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                    1                                  CERTIFICATE OF SERVICE
                    2              I hereby certify that on June 1, 2015, I electronically filed the foregoing
                    3 COUNTER-DEFENDANTS' OBJECTIONS TO THE DECLARATION OF
                    4 GARY COHEN REGARDING PREJUDGMENT INTEREST with the Clerk of
                    5 the Court by using the CM/ECF system. I certify that all participants in the case are
                    6 registered CM/ECF users and that service will be accomplished by the CM/ECF
                    7 system.


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                                                                        Jo        ossett
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   PAT ERNO &
BERLINER, LLP

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